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 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   1:07-CR-315 OWW
                                                    )
12                          Plaintiff,              )   ORDER CONTINUING STATUS
                                                    )   CONFERENCE HEARING
13                                                  )
                                     v.             )
14                                                  )
     CARLOS MARTINEZ SARABIA, TINA                  )   Note: Time change to 1:30 PM
15   JOANN PEREZ, VINCENT FONTANA,                  )
     and TIMOTHY MARK MAUGERI, and                  )
16   ANTHONY AVALOS,                                )
                                                    )
17                          Defendants.             )
                                                    )
18                                                  )
19
            The Untied States of America, by and through McGregor W. Scott, United States Attorney
20
     and Kathleen A. Servatius, Assistant United States Attorney, and the defendant CARLOS
21
     MARTINEZ SARABIA, by and through his attorney, have stipulated to a continuance of the status
22
     conference hearing in this case, currently set for July 7, 2008, to August 11, 2008 at 1:30 p.m.
23
            IT IS HEREBY ordered that the status conference hearing in this case be continued until
24
     August 11, 2008 at 1:30 p.m. as to CARLOS MARTINEZ SARABIA only.
25
     IT IS SO ORDERED.
26
     Dated: July 3, 2008                               /s/ Oliver W. Wanger
27   emm0d6                                       UNITED STATES DISTRICT JUDGE
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